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                                   UNITED STATES DISTRICT COURT
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                                NORTHERN DISTRICT OF CALIFORNIA
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                                       SAN FRANCISCO DIVISION
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      In re: CATHODE RAY TUBE (CRT)                         Case No. 07-5944 SC
17    ANTITRUST LITIGATION
                                                            MDL No. 1917
18
                                                            [PROPOSED] ORDER GRANTING SDI
19    This Document Relates to:                             DEFENDANTS’ MOTION TO
                                                            EXCLUDE EXPERT TESTIMONY OF
20    Alfred H. Siegel, as Trustee of the Circuit City      DR. STEPHAN HAGGARD
      Stores, Inc. Liquidating Trust v. Hitachi, Ltd., et
21    al., No. 11-cv-05502;

22    CompuCom Systems, Inc. v. Hitachi, Ltd., et al.,
      No. 11-cv-06396;
23
      Costco Wholesale Corporation v. Hitachi, Ltd.,
24    et al., No. 11-cv-06397;

25    Dell Inc. and Dell Products L.P., v. Hitachi, Ltd.,
      et al, No. 13-cv-02171;
26
      Electrograph Systems, Inc. and Electrograph
27    Technologies Corp., v. Hitachi, Ltd., et al., No.
      11-cv-01656;
28    (CONTINUED ON NEXT PAGE)

     SMRH:434740719.1             [PROPOSED] ORDER GRANTING SDI’S MOTION TO EXCLUDE HAGGARD
      Case 4:07-cv-05944-JST Document 3172-2 Filed 12/05/14 Page 2 of 3




 1
      Interbond Corporation of America v. Hitachi,
 2    Ltd., et al., No. 11-cv-06275;

 3    Office Depot, Inc. v. Hitachi Ltd., et al., No. 11-
      cv-06276;
 4
      P.C. Richard & Son Long Island Corp., Marta
 5    Coooperative of Am., Inc., ABC Appliance, Inc.
      v. Hitachi, Ltd., et al., No. 12-cv-02648;
 6
      Schultze Agency Services, LLC, on behalf of
 7    Tweeter Opco, LLC and Tweeter Newco, LLC v.
      Hitachi, Ltd., et al., No. 12-cv-02649;
 8
      Sears, Roebuck and Co. and Kmart Corp. v.
 9    Chunghwa Picture Tubes, Ltd., et al., No. 11-cv-
      05514;
10
      Target Corp. v. Chunghwa Picture Tubes, Ltd.,
11    et al., No. 11-cv-05514;

12    Tech Data Corp and Tech Data Product
      Management, Inc., v. Hitachi, Ltd., et al., No.
13    13-cv-00157;

14    ViewSonic Corp. v. Chunghwa Picture Tubes,
      Ltd., et al., No. 14-02510.
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     SMRH:434740719.1             [PROPOSED] ORDER GRANTING SDI’S MOTION TO EXCLUDE HAGGARD
      Case 4:07-cv-05944-JST Document 3172-2 Filed 12/05/14 Page 3 of 3




 1           Defendants Samsung SDI America, Inc.; Samsung SDI Co., Ltd.; Samsung SDI (Malaysia)

 2 SDN. Bhd.; Samsung SDI Mexico S.A. De C.V.; Samsung SDI Brasil Ltda.; Shenzen Samsung
 3 SDI Co., Ltd.; Tianjin Samsung SDI Co., Ltd.’s (collectively, “SDI”) Motion to Exclude Expert
 4 Testimony of Dr. Stephan Haggard (“Motion”) came on regularly for hearing before this Court.
 5           Having considered all the papers filed in support of and in opposition of said Motion, and

 6 having entertained argument of counsel, and good cause appearing, IT IS HEREBY ORDERED
 7 that SDI’s Motion is GRANTED in full, and Dr. Haggard’s opinions are excluded in their entirety.
 8
 9 IT IS SO ORDERED.
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     DATED: ___________, 2015
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13                                                                  Hon. Samuel Conti
14                                                              United States District Judge

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     SMRH:434740719.1             [PROPOSED] ORDER GRANTING SDI’S MOTION TO EXCLUDE HAGGARD
